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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS


Sabrina Bryson as Administratrix
of the estate of Vaughn Adam Wilson, Jr.,
                           Plaintiff,

                  v.                                           CIVIL ACTION NO.11-40052-TSH


American Medical Response of
Massachusetts, Inc.,
                        Defendant,


                                            JUDGMENT IN A CIVIL CASE

HILLMAN, D.J.


X        Jury Verdict. This action came before the court for a trial by jury. The issues have been tried and the jury
         has rendered its verdict.

         Decision by the Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED: In accordance with the jury verdict on 11/12/14 that
        judgment be entered in favor of the defendant American Response of Massachusetts
        against the plaintiff Sabrina Bryson.




                                                             ROBERT FARRELL, CLERK

Dated: 11/12/14                                              /S/ Martin Castles
                                                             ( By ) Deputy Clerk
